
8 N.Y.2d 1149 (1960)
The People of the State of New York, Respondent,
v.
Jerry Robertson, Appellant.
Court of Appeals of the State of New York.
Argued November 14, 1960.
Decided December 1, 1960.
Charles F. Crimi for appellant.
Frank S. Hogan, District Attorney (Daniel J. Sullivan and Harold Roland Shapiro of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Orders reversed and case remanded to the Appellate Division for reinstatement of the appeals to be heard upon the original papers (People v. Borum, 8 N Y 2d 177). On such reinstated appeals appellant will be entitled either to have a copy of the original papers or to assignment of counsel (People v. Kalan, 2 N Y 2d 278; People v. Breslin, 4 N Y 2d 73). No opinion.
